Case 1:12-cv-00759-LTB Document 18 Filed 09/05/12 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 12-cv-00759-BNB

RUSTY LEE SARVIS,

       Applicant,

v.

ANGEL MEDINA, Warden, and
THE ATTORNEY GENERAL OF THE STATE OF COLORADO,

       Respondents.


                      ORDER TO FILE PRE-ANSWER RESPONSE


       Applicant is in the custody of the Colorado Department of Corrections (DOC) and

currently is incarcerated at the Fremont Correctional Facility in Cañon City, Colorado.

Applicant, acting pro se, initiated this action by filing an Application for a Writ of Habeas

Corpus Pursuant to 28 U.S.C. § 2254 challenging his criminal conviction and sentence

in state criminal case nos. 07CR944 and 95CR1933.

       As part of the preliminary consideration of the Application for a Writ of Habeas

Corpus Pursuant to 28 U.S.C. § 2254 in this case, the Court has determined that a

limited Pre-Answer Response is appropriate. Respondents are directed pursuant to

Rule 4 of the Rules Governing Section 2254 Cases in the United States District Courts

and to Denson v. Abbott, 554 F.Supp. 2d 1206 (D. Colo. 2008), to file a Pre-Answer

Response limited to addressing the affirmative defenses of timeliness under 28 U.S.C. §

2244(d) and/or exhaustion of state court remedies under 28 U.S.C. § 2254(b)(1)(A). If

Respondents do not intend to raise either of these affirmative defenses, they must notify

the Court of that decision in the Pre-Answer Response. Respondents may not file a
Case 1:12-cv-00759-LTB Document 18 Filed 09/05/12 USDC Colorado Page 2 of 2




dispositive motion as their Pre-Answer Response, or an Answer, or otherwise address

the merits of the claims in response to this Order.

       In support of the Pre-Answer Response, Respondents should attach as exhibits

all relevant portions of the state court record, including but not limited to copies of all

documents demonstrating whether this action is filed in a timely manner and/or whether

Applicant has exhausted state court remedies.

       Applicant may reply to the Pre-Answer Response and provide any information

that might be relevant to the one-year limitation period under 28 U.S.C. § 2244(d)

and/or the exhaustion of state court remedies. Applicant also should include

information relevant to equitable tolling, specifically as to whether he has pursued his

claims diligently and whether some extraordinary circumstance prevented him from

filing a timely 28 U.S.C. § 2254 action in this Court. Accordingly, it is

       ORDERED that within twenty-one days from the date of this Order

Respondents shall file a Pre-Answer Response that complies with this Order. It is

       FURTHER ORDERED that within twenty-one days of the filing of the Pre-

Answer Response Applicant may file a Reply, if he desires. It is

       FURTHER ORDERED that if Respondents do not intend to raise either of the

affirmative defenses of timeliness or exhaustion of state court remedies, they must

notify the Court of that decision in the Pre-Answer Response.

       Dated: September 5, 2012

                                                   BY THE COURT:

                                                   s/Boyd N. Boland
                                                   United States Magistrate Judge



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